                                                                                                    10/14/2014 7:37:43 PM
                                                                                 Chris Daniel - District Clerk Harris County
                                                                                                     Envelope No. 2832160
                                                                                                         By: SALENE SMITH
                                                                                             Filed: 10/14/2014 7:37:43 PM

                                        Case No. 2014-44974

Jared Woodfill; Steven F. Hotze;                   §       In the District Court of
F.N. Williams, Sr.; and Max Miller                 §
               Plaintiffs,                         §
v.                                                 §       Harris County, Texas
Annise D. Parker, Mayor; Anna Russell,             §




                                                                                 k
City Secretary; and City of Houston                §




                                                                              ler
               Defendants.                         §       152nd Judicial District Court




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                               City of Houston’s Plea to the Jurisdiction




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        This Court should dismiss plaintiffs’ claims against the City of Houston for lack of




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subject-matter jurisdiction.     Plaintiffs seek (1) a declaration under the Texas Declaratory




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Judgment Act of their purported rights under the City Charter and (2) mandamus relief to enforce



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what plaintiffs say are “ministerial and mandatory” duties of the City Secretary and other City
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officials. Under clear Texas Supreme Court precedent, the City of Houston is immune from both
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of these claims.
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        In Texas Department of Transportation v. Sefzik, 355 S.W.3d 618, 621 (Tex. 2011), the
                                         of




Texas Supreme Court explained that “sovereign immunity bars DJA actions against the state and
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its political subdivisions absent a legislative waiver” – there is no such waiver here. In Anderson
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v. City of Seven Points, 806 S.W.2d 791, 793 (Tex. 1991), the Texas Supreme Court explained
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that mandamus is only “appropriate to compel a public official to perform a ministerial act” – the
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City is not a public official and, thus, is immune from plaintiffs’ mandamus claims. (All
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emphasis in this plea is added.) Because the City is immune from plaintiffs’ claims, this Court
            of




lacks subject-matter jurisdiction and should dismiss plaintiffs’ suit against the City.
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3322255v1/014442                                   1
                                                                                                   Exhibit D
                                                  I.
                                 In Their Efforts to Repeal HERO,
                     Plaintiffs Failed to Comply with the City Charter – And
                    Filed This Lawsuit to Try to Excuse Their Noncompliance

        This lawsuit arises out of the Houston City Council’s passage of Ordinance No. 2014-




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530, known as the Houston Equal Rights Ordinance (“HERO”). HERO prohibits discrimination




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based on an individual’s sex, race, color, ethnicity, national origin, age, familial status, marital




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status, military status, religion, disability, sexual orientation, genetic information, gender




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identity, or pregnancy in city employment and city services, city contracts, public




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accommodations, private employment (excluding religious organizations), and housing.




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        Plaintiffs organized a petition drive to attempt to force the City Council either to repeal


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HERO or place it on the ballot for a referendum vote.Bu
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        Article VII-b of the City Charter sets forth specific requirements for referendum
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petitions, and plaintiffs failed to satisfy them. To be valid, a referendum petition must be signed
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and verified “in the manner and form” set out in the City Charter. See City Charter Art. VII-b,
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§§ 3, 2(a), Art. VII-a. Among other requirements, a person collecting signatures on a petition (a
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“circulator”) must sign an affidavit (a “circulator’s affidavit”) before a notary public on each
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page with signatures and confirm under oath (1) that the circulator is one of the signers of the
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petition, (2) that the statements in the petition are true, (3) that each signature on the page was
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made in the circulator’s presence on the day and date it purports to have been made, and (4) that
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the signature is a genuine signature of the person whose name it purports to be. See City Charter
            of
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Art. VII-a, § 3. Because the circulator’s affidavit is an express requirement of the City Charter,

if a page does not contain a proper circulator’s affidavit then, as a matter of law, the signatures

on that page are invalid and may not be counted. See, e.g., In re Francis, 186 S.W.3d 534, 539




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                                                                                             Exhibit D
(Tex. 2006) (“the omission of any statutorily required information on a petition renders

signatures on that petition invalid”).

        On July 3, 2014, plaintiffs and their fellow petition organizers presented to the City

Secretary a purported referendum petition that they claimed included approximately 55,000




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signatures. Plaintiffs themselves withdrew nearly 24,000 signatures (over 40%) for reasons they




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chose not to explain and they (again falsely) claimed to have “pre-verified” 31,000 signatures.




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        On August 4, 2014, the City Secretary sent Mayor Annise Parker a memorandum noting




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that 17,269 signatures were required under the City Charter to pass the referendum and stating,




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in the last paragraph, that:



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        According to the City Attorney’s Office and reviewed by the City Secretary the
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        analysis of the City Attorney’s Office, 2,750 pages containing 16,010 signatures
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        do not contain sufficient acknowledgment as required by the Charter.
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        Therefore, according to the City Attorney’s Office only 2,449 pages containing
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        15,249 signatures can lawfully be considered toward the signatures required.
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Plaintiffs’ 15,249 signatures that “can lawfully be considered” were well short – short by over
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2,000 signatures – of the required number.
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        On August 4, 2014, Mayor Parker and City Attorney David Feldman confirmed at a press
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conference that the referendum petition had been rejected, and the City issued a press release
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noting that “[t]housands of the signatures” on the referendum petition “failed to meet one or
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more of these requirements and had to be disregarded.” The referendum failed.
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        On August 5, 2014, plaintiffs filed their Original Petition and Request for Declaratory
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Judgment and Immediate Injunctive Relief against the City, Mayor Parker, and City Secretary

Russell. On August 15, 2014, this Court conducted an oral hearing on plaintiffs’ request or an

injunction and, following a conference in chambers, plaintiffs withdrew their request for

“immediate” (or any) injunctive relief.



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                                                                                           Exhibit D
        Plaintiffs’ petition focuses on the actions of the City Secretary and other city officials.

They (falsely) allege that City of Houston officials, including the City Secretary, did not comply

with their “ministerial” duties, and, as plaintiffs say, they “bring this suit to force the Defendants

to obey the City Charter and the consequences which flow therefrom; e.g., immediate suspension




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of enforcement of the ERO, reconsideration of the ERO by vote of the City Council, and, should




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the ERO not be repealed by Council, then the immediate calling of an election on whether to




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repeal the ERO.” ¶ 15. In their petition, plaintiffs ask this Court to enter two declarations:




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        •   At ¶ 13, plaintiffs seek a declaration that “the ERO Referendum Petition was timely
            filed, is otherwise valid, and contains more than the minimum number of required




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            signatures of registered City of Houston voters.”



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        •   At ¶ 14, plaintiffs seek a declaration that “none of the so-called problems with the
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            ERO Referendum Petition are sufficient to defeat the ministerial duty of each
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            Defendant to accept the Petition, along with the legal consequences of suspecting the
            ERO, and the requirement of the Houston City Council to either repeal the ERO or
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            place whether to repeal the ERO on the ballot for the Houston voters to decide.”
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        Plaintiffs wrongly allege at ¶ 7 of their petition that the City’s governmental immunity is
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waived under the Texas Declaratory Judgment Act because, plaintiffs incorrectly say, the City
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“is a necessary party to Plaintiffs’ claim for declaratory and/or injunctive relief that neither
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Defendant has any statutory authority or constitutional authority to ignore the ERO Referendum
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Petition.” Id. ¶ 7.
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        In their August 15, 2014 supplemental petition, plaintiffs say at ¶ 4 that each defendant,
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including the City, has a ministerial duty to comply with the City Charter; seek mandamus relief
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against each defendant; and broadly assert that to the extent defendants rely on any requirement
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that circulators be registered voters, such a requirement would violate their free-speech rights.

The supplemental petition emphasizes the alleged duties of various city officials to comply their

“ministerial” duties under the City Charter, but plaintiffs do not (and cannot) allege any

“ministerial” duty owed by the City itself. The supplemental petition also does not include any


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                                                                                                 Exhibit D
additional claims beyond those in the original petition to support waiver of the City’s

governmental immunity.

        The City timely filed its Answer on August 22, 2014 and raised the affirmative defense of

governmental immunity and lack of subject-matter jurisdiction. The City files this plea in




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support of its affirmative defense of immunity.




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                                            II.




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           Governmental Immunity Bars Every Claim Plaintiffs Raise Against the City




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        Absent a clear and unambiguous legislative waiver, governmental immunity protects




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municipalities from suit and liability in the performance of their governmental functions. Tooke




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v. City of Mexia, 197 S.W.3d 325, 343-44 (Tex. 2006); City of Galveston v. State, 217 S.W.3d


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466, 469 (Tex. 2007); see also Tex. Dep’t of Wildlife v. Miranda, 133 S.W.3d 217, 225-26 (Tex.
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2004). The failure of a plaintiff to affirmatively plead waiver of governmental immunity deprives
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the trial court of subject-matter jurisdiction to consider the claim. Tex. Dep’t of Transp. v. Jones,
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8 S.W.3d 636, 638 (Tex. 1999); Tex. Dep’t of Criminal Justice v. Miller, 51 S.W.3d 583, 586-87
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(Tex. 2001). A plaintiff does not meet this burden simply by referring to a statute which
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contains a limited waiver of immunity from suit. See 51 S.W.3d at 586-87. Rather, a plaintiff
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must allege facts that fit within the limited waiver of immunity provided by the statute. Id.
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Whether the plaintiff has met this burden is a question of law. Miranda, 133 S.W.3d at 226-27.
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                                              III.
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                         The City Is Immune from Plaintiffs’ DJA Claims
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        In City of El Paso v. Heinrich, 284 S.W.3d 366, 380 (Tex. 2009), the Texas Supreme
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Court confirmed that the Texas Declaratory Judgment Act (“DJA”) does not waive

municipalities’ governmental immunity, absent an independent legislative waiver of immunity.

The Court explained that the DJA only waives immunity against governmental officials sued in

their official capacities. Id. In Texas Department of Transportation v. Sefzik, 355 S.W.3d 618,


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                                                                                              Exhibit D
621 (Tex. 2011), the Texas Supreme Court again confirmed that “sovereign immunity bars DJA

actions against the state and its political subdivisions absent a legislative waiver.”

        The scope of the DJA’s legislative waiver is narrow. The DJA does not waive the City’s

immunity for declaratory claims challenging actions taken under a statute or ordinance. See




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Sefzik, 355 S.W.3d at 622 (immunity not waived where plaintiff challenged governmental




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agency’s actions under a statute); Heinrich, 284 S.W.3d at 373 n.6 (noting immunity stands




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where plaintiff challenged a municipality’s actions under the governing statute). The DJA also




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does not waive immunity for declaratory relief claims that seek an interpretation or declaration of




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rights under a statute or ordinance. See Sefzik, 355 S.W.3d at 621 (“[T]he UDJA does not waive



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the state’s sovereign immunity when the plaintiff seeks a declaration of his or her rights under a
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statue or other law.”); Tex. Parks & Wildlife Dep’t v. Sawyer Trust, 354 S.W.3d 384, 388 (Tex.
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2011) (“The [DJA] generally permits a person who is interested in a deed, or whose rights,
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status, or other legal relations are affected by a statute, to obtain a declaration of rights, status, or
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other legal relations thereunder….[T]here is no general right to sue a state agency for a
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declaration of rights.”); City of Dallas v. Texas EZPAWN, L.P., No. 05-12-01269-CV, 2013 WL
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1320513, at *2-3 (Tex. App.—Dallas Apr. 1, 2013, no pet. h.) (“EZPAWN’s petition does not
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challenge the validity of the ordinance; it seeks a construction of the ordinance....[B]ecause
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EZPAWN sought only the interpretation of an ordinance and a declaration that the ordinance
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does not apply to its loan services business, we conclude that the allegations affirmatively negate
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the trial court’s subject matter jurisdiction.”).
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        There is no waiver of the City’s immunity here. Plaintiffs’ allegations center on an

attempt to force certain city officials to comply with their purported duties under the City

Charter. See Original Petition, ¶ 13 (“Under the terms of the City Charter, City Secretary Anna




3322255v1/014442                                    6
                                                                                                 Exhibit D
Russell has a ministerial and mandatory duty…”); ¶ 15 (“Under the law governing this area, the

City Secretary has a ministerial and mandatory duty…”). Plaintiffs have not identified any

independent duty belonging to the City itself. Because plaintiffs simply ask this Court to

construe the provisions of the City Charter and order city officials to comply with them, the City




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is immune from plaintiffs’ DJA claims. See Heinrich, 284 S.W.3d at 380; Sefzik, 355 S.W.3d at




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621-22.




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        Sidestepping the Texas Supreme Court’s controlling decisions, plaintiffs assert in




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conclusory fashion that the City somehow waived its immunity because, plaintiffs say at ¶ 7 of




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their Original Petition, it is a “necessary party” to their DJA claims. Plaintiffs do not explain



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why the City’s presence is necessary. Plaintiffs do not even imply why the City’s presence is
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necessary. Plaintiffs’ requested relief does not obligate the City itself. The only case plaintiffs
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cite ostensibly to support their suggestion of waiver is the Texas Supreme Court’s decision in
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Heinrich in which the Court emphatically rejected any argument that the City’s immunity is
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waived. Indeed, plaintiffs do not even try to dispute that the City is immune from their ultra
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vires claims, likely because the Texas Supreme Court expressly held in Heinrich that
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governmental entities are immune from ultra vires claims. See Heinrich, 284 S.W.3d at 373, n.6
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(ultra vires suits “cannot be brought against the state, which retains immunity, but must be
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brought against the state actors in their official capacity. This is true even though the suit is, for
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all practical purposes, against the state.”). Plaintiffs’ allegations cannot overcome Texas law and
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the City’s immunity to plaintiffs’ claims.
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                                                  IV.
                     Plaintiffs Failed to Plead a Waiver of Immunity for Their
                        Mandamus Claims, And There Is No Such Waiver

        The Texas Constitution empowers Texas district courts “to issue writs of mandamus to

compel public officials”—not governmental entities—“to perform ministerial acts.” Brennan v.


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                                                                                               Exhibit D
City of Willow Park, 376 S.W.3d 910, 926–27 (Tex. App.—Fort Worth 2012, pet. denied) (citing

Tex. Const. art. V, § 8). In Anderson v. City of Seven Points, 806 S.W.2d 791, 793 (Tex. 1991),

the Texas Supreme Court similarly explained that “A writ of mandamus is appropriate to compel

a public official to perform a ministerial act.” Thus, mandamus lies only against public officials




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and responsible individuals within the government, not against governmental entities like the




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City. The City is immune from plaintiffs’ request for mandamus.




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                                            Conclusion




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        This Court lacks subject matter jurisdiction over plaintiffs’ claims against the City. This




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Court should grant the City’s plea to the jurisdiction, and should dismiss the City from this suit.


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                                                      Respectfully submitted,
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                                                  By: /s/ Geoffrey L. Harrison
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                                                                                             Exhibit D
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                                                                           Exhibit D
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Appellate Attorneys for All Defendants
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                                   Certificate of Conference
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Counsel for the City of Houston has conferred with counsel for plaintiffs on October 14, 2014 in
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a good faith effort to resolve the matters raised by this motion, and counsel for plaintiffs is
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opposed to the disposition of the matters raised in this motion.
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                                                    /s/ Kristen Schlemmer
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                                                   Kristen Schlemmer
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I certify that on October 14, 2014 a true and correct copy of this document properly was served
on the following counsel of record in accordance with the TRCP via electronic efiling and email
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by agreement with the parties.
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                                                    /s/ Kristen Schlemmer
            of




                                                   Kristen Schlemmer
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                                                                                         Exhibit D
